IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

AT KNOXVILLE
THOMAS GIRDLESTONE, )
)
Plaintiff, )
)
)
v. ) Civil Action No.: 3:09-CV-530
) Phillips/Shirley
ACE LIMITED, a/k/a ACE GROUP & )
ACE WESTCHESTER, d/b/a ILLINOIS )
UNION INSURANCE, )
)
Defendants. )

 

MOTION TO STRIKE AND TO STAY PROCEEDINGS
AND ORDER DEFENDANTS TO ALTERNATIVE DISPUTE RESOLUTION

 

Comes now the Plaintiff, Thomas Girdlestone, through undersigned counsel and pursuant
to the U.S. District Court Local Rules for Tennessee, as well as the F ederal Arbitration Act and
the requirement of the D&O lnsurance policy at issue in this lawsuit would move this Honorable
Court for an Order striking Defendants Motion to Dismiss and an Order requiring the Defendants
to submit to alternative dispute resolution pursuant to the requirement of its own insurance
policy.

For good cause, Plaintiff would show unto this Honorable Court the following:

l. That Local Rule l6.5 pursuant to the Federal Arbitration Act gives this Honorable

Court the authority to order parties to a lawsuit to alternative dispute resolution;
2. That more importantly the D&O lnsurance Policy at issue in this litigation requires

the following in Paragraph J:

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T he Insureds and the l'nsurer shall submit any dispute or controversy arising out
of or relating to this Policy or the breach, termination or invalidity thereof to
the alternative dispute resolution (“ADR ’) process described in this subsection

Either an lnsured or the Insurer may elect the type of ADR process discussed
below,' provided however, that the Insured shall have the right to reject the
choice by the Insurer of the type of ADR process at any time prior to its
commencement in which case the choice of the by the Insured of the ADR
process shall control

T here shall be two choices of ADR Process.' (]) non-binding mediation
administered by any mediation facility to which the [nsurer and [nsured mutual
agree, in which the lnsured and the Insurer shall try in good faith to settle the
dispute by mediation in accordance with the then-prevailing commercial
mediation rules of the mediation facility,' or (2) arbitration submitted to any
arbitration facility to which the lnsured and [nsurer mutually agree, in which
the arbitration panel shall consist of three disinterested individuals In either
mediation or arbitration, the mediator or arbitrators shall have the knowledge
of the legal, colporate management and insurance issues relevant to the matters
in dispute In the event of arbitration, the decision of the arbitrators shall be
final and binding and provided to both parties, and the award of the arbitrators
shall not include attorney ’sfees or other costs. ln the event of mediation, either
party may have the right to commence arbitration in accordance with this
section,' provided however, that no such arbitration shall be commenced until at
least 60 days after the date the mediation shall be deemed concluded or
terminated In all events, each party shall share equally the expenses of the ADR
process

Either ADR process may be commenced in New York, New York or in the state
indicated in Item A of the Declarations as the principal address of the Parent
Company. T he Parent Company shall act on behalf of each and every insured in
connection with any ADR process under this section.

3. That the Plaintiff attempted to obtain the Defendants’ cooperation in the ADR
requirement of the D&O Policy prior to the statute of limitations running in this
matter to which the Defendants initially agreed;

4. That the parties were to use the Honorable Robert P. Murrian to mediate the issues
herein and the matter was set for mediation at his office;

5. That at the seventh hour the Defendants counsel at that time, Gregory Brown, called
off the mediation using the disingenuous excuse that the issues could not be mediated
because the Plaintiff had expert counsel investigating whether or not he had a claim

against his defense counsel provided by Defendants in the Elder lawsuit. No suit had

 

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been filed at that time against PlaintifF s insurance defense counsel and no suit will be
filed in that regard;

6. That due to the cancelling the of the required mediation by Defendants, Plaintiff` was
forced to quickly file this action to avoid the statute of limitations running;

7. Defendants asked counsel for Plaintiff for two extensions in this matter using one to
remove this matter to this Honorable Court and the using the second to file a Motion
to Dismiss;

8. That Defendants are required to submit to ADR in this matter by the terms of its own
insurance policy;

9. That with an ADR requirement in place to which the Defendant has not complied
with no dispositive motion can be heard in this matter and the filing of the Motion to
Disiniss was improper by the Defendants and should be stricken;

WHEREFORE, PREMISES CONSIDERED PLAINTIFF PRAYS:

A. That this Honorable Court strike the Defendants l\/Iotion to Dismiss;

B. That this Honorable Court order the Defendants to cooperate with the alternate
dispute resolution requirement of the D&O Policy;

C. That this Honorable Court award the Plaintiff his reasonable attorney fees for having
to bring this motion;

D. That costs be taxed to the Defendants;

E. For general relief.

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Respectfully submitted,
LAW OFFICE OF RUSSELL L. EGLI

/s/ Russell L. Egli
Russell L. Egli
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CERTIFICATE OF SERVICE
l hereby certify that on the day of , a copy of this Motion was filed
electronically, that notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. All other parties will be served by
U.S. Mail. The parties may access this filing through the Court’s electronic filing system.

/s/Russell L. Eg_li

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